Use the Tab
     Case     key to move from
          1:22-cr-00015-APM     field659
                            Document  to field
                                           Filedon this form.
                                                07/12/23  Page 1 of 1CO-290
 Notice of Appeal Criminal                                                                             Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                                )
                                                         )
                         vs.                             )        Criminal No. 22-cr-15 (APM)
                                                         )
  KELLY MEGGS                                            )


                                         NOTICE OF APPEAL


Name and address of appellant:                          United States of America




Name and address of appellant’s attorney:               Jeffrey Nestler, Assistant US Attorney
                                                        Office of the US Attorney for DC
                                                        601 D Street, NW Room 5.1501
                                                        Washington, DC 20253

Offense:   18 USC Sec. 2384; 18 USC Sec. 1512(k); 18 USC Secs. 1512(c)(2) and 2; 18 USC Sec. 372; 18 USC Sec. 1512(c)(1)


Concise statement of judgment or order, giving date, and any sentence:
     Sentence imposed on May 25, 2023 (judgment entered on the docket on June 13,
     2023), sentencing defendant to a total of 144 months' imprisonment, followed by a total
     of 36 months' supervised release; assessment of $500.00
Name and institution where now confined, if not on bail: DC Jail/CTF


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
           July 12, 2023                                     United States of America
 DATE                                                    APPELLANT
                                                                          Jeffrey Nestler
                                                         ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE           ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                                YES               NO ✔
Has counsel ordered transcripts?                                      YES ✔             NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?            YES               NO ✔
